                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

 BRIAN CARRICO; KACIE CARRICO;
 DON GATLIN; and DORA GATLIN;
 individually and on behalf of all others
 similarly situated,
                                                    Case No. 3:23-CV-00497
                     Plaintiffs,

 v.

 UPONOR, INC.; UPONOR NORTH
 AMERICA, INC.; DOES 1 through 100,
 inclusive, whose true names are unknown,

                     Defendants.

DECLARATION OF STACEY BEISSEL IN SUPPORT OF DEFENDANTS’ MOTION
TO COMPEL ARBITRATION OR, ALTERNATIVELY, TO (1) DISMISS PLAINTIFFS’
COMPLAINT AND CLASS ALLEGATIONS; AND (2) STRIKE CLASS ALLEGATIONS

       I, Stacey Beissel, declare as follows:

       1.      I am the Manager, Claims, Risk and Insurance, for Uponor North America, Inc. and

its subsidiaries, including Uponor, Inc. I have personal knowledge of the matters set forth herein,

and if called to testify as a witness, I could and would competently testify to the matters stated in

this Declaration.

       2.      I submit this Declaration in support of the Motion to Compel Arbitration; or, in the

Alternative, to (1) Dismiss Plaintiffs’ Complaint and Class Allegations; and (2) Strike Class

Allegations (the “Motion”) filed by Uponor Inc. and Uponor North America, Inc. (together,

“Uponor”).

       3.      Uponor, Inc. is an Illinois corporation that maintains its corporate office in Apple

Valley, Minnesota.     Uponor, Inc. manufactures and sells, among other things, cross-linked

polyethylene tubing (“PEX”) that is used in potable water plumbing systems, including both blue

and red colored PEX and translucent PEX.



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       4.       Uponor North America, Inc. is a Delaware corporation and holding company that

does not manufacture PEX.

       5.       I have reviewed the Complaint filed by Plaintiffs Brian Carrico, Kacie Carrico, Don

Gatlin, and Dora Gatlin (“Plaintiffs”), in which they refer to certain “blue and red colored cross-

linked polyethylene tubing” allegedly “manufactured and/or distributed by” Uponor and installed

in their homes in or around June 2014 and February 2017.

       6.       All PEX sold by Uponor in the United States between October 15, 2012 and the

present, including the blue and red PEX referenced in Plaintiffs’ Complaint, is subject to and

governed by a written limited product warranty (the “Warranty”). A true and correct copy of the

Warranty applicable to the homes alleged to be owned by Plaintiffs is attached to this Declaration

as Exhibit 1.

       7.       During that same period of time, the Warranty was continuously published and

publicly available on Uponor’s website.

       8.       Uponor is aware that its PEX is frequently purchased and used by builders,

developers and/or plumbers who incorporate the PEX into the homes or other residential structures

they are constructing, some of which homes/structures are then sold to individual homeowners.

Uponor therefore understands and intends that its Warranty will ultimately be transferred to, cover,

and apply to persons who acquire homes from builders and/or developers containing Uponor PEX,

and that those owners will become the beneficiaries of the Warranty.

       9.       Consistent with this understanding and intention, Uponor and its authorized

representatives regularly train plumbers, including those involved in the selection, installation and

repair of residential potable water plumbing systems, with respect to PEX products, so that they

are qualified and able to respond to and provide service as well as advice addressing any needs


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that individual homeowners may have with respect to PEX installed in their homes. As part of the

knowledge-base available to Uponor-trained plumbers is the fact that Uponor’s PEX is subject to,

and covered by, a written Uponor warranty.

       10.     Based on my experience in handling warranty claims submitted to Uponor by

homeowners and plumbers, it is common for plumbers who are involved in and/or perform repairs

to Uponor PEX products installed as part of residential potable water plumbing systems, to advise

homeowners that they may submit a claim pursuant to Uponor’s Warranty.

       11.     In my capacity as Manager, Claims, Risk and Insurance, I have knowledge of

warranty claims received and processed by Uponor related to PEX. Based upon my review of

records maintained by Uponor in the ordinary course of business, Uponor does not have any

record, prior to this lawsuit, of Plaintiffs or any other person or entity (i) submitting any warranty

claim, (ii) requesting the repair, replacement, or return of, or otherwise (iii) providing notice of

any performance issues involving, the PEX allegedly installed as part of the potable water

plumbing system in Plaintiffs’ homes.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed on July 20, 2023 at Hastings, Minnesota.


                                                                     Stacey Beissel




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                                                                                                        uponor
                                                                                                             PLUMBING SYSTEMS

                                                                                                                   WARRANTY




UPONOR, INC. LIMITED WARRANTY Valid for Uponor                       Exclusions From Limited Warranty:
AquaPEX-a® Tubing, ProPEX® and Other Select Plumbing                 This limited warranty applies only if the applicable Uponor
Products                                                             products identified above: (a) are selected, configured and
                                                                     installed by a certified licensed plumbing contractor
This Warranty is Effective For Installations Made After              recognized by Uponor as having successfully completed the
October 15, 2012                                                     Uponor AquaPEX® training course and according to the
                                                                     installation instructions provided by Uponor; (b) are not
Subject to the terms and conditions of this Limited Warranty,
                                                                     exposed to temperatures and/or pressures that exceed the
Uponor, Inc. (“Uponor”) warrants to the owner of the
                                                                     limitations printed on the warranted Uponor product or in
applicable real property that the Uponor products listed
                                                                     the applicable Uponor installation manual; (c) remain in their
below shall be free from defects in materials and
                                                                     originally installed location; (d) are connected to potable
workmanship, under normal conditions of use when installed
                                                                     water supplies; (e) show no evidence of misuse, tampering,
as part of a potable water distribution system.
                                                                     mishandling, neglect, accidental damage, modification or
                                                                     repair without the approval of Uponor; and (f) are installed in
Unless otherwise specified, this Limited Warranty for the
                                                                     accordance with then-applicable building, mechanical,
applicable Uponor products shall commence on the date the
                                                                     plumbing, electrical and other code requirements; (g) are
product was installed (“Commencement Date”) and will
                                                                     installed in combination with Uponor AquaPEX-a® tubing
expire after the following number of years:
                                                                     unless otherwise specified below.
                                                                     Without limiting the foregoing, this limited warranty does not
(a) Twenty-Five (25) years for Uponor AquaPEX-a® tubing,
                                                                     apply if the product failure or resulting damage is caused by:
    Uponor ProPEX® fittings and ProPEX® rings when all are
                                                                     (a) faulty installation; (b) components not manufactured or
    installed in combination with each other;
                                                                     sold by Uponor; (c) exposure to ultra violet light; (d) external
                                                                     physical or chemical conditions, including, but not limited to
(b) Ten (10) years for Uponor AquaPEX-a® tubing when
                                                                     chemically corrosive or aggressive water conditions; or (e)
    installed in combination with non-Uponor fittings;
                                                                     any abnormal operating conditions.
(c) Ten (10) years for Uponor EP valves, EP valveless                The use of non-Uponor termination devices such as
    manifolds and Uponor tub ells, stub ells, and straight           tub/shower valves, sill cocks, stops and other similar
    stubs;                                                           components that attach at the termination or end-point of a
                                                                     run or branch of Uponor AquaPEX-a® tubing does not
(d) Two (2) years for Uponor metal manifolds, Uponor EP              disqualify the additional parts of the Uponor ProPEX® fitting
    manifolds with valves;                                           system from the terms of this Limited Warranty. Only the
                                                                     non-Uponor termination devices themselves are excluded
(e) Five (5) years for the Uponor D’MAND® system;                    from the Uponor Limited Warranty.

(f) Two (2) years for all other components of the Uponor             The use of non-Uponor AquaPEX-a® tubing disqualifies any
    ProPEX® fitting system and all other plumbing items              and all parts of the Uponor ProPEX fitting® system from the
    listed in Uponor’s catalog as of the effective date of this      terms of this Limited Warranty. This exclusion does not
    limited warranty.                                                include certain circumstances wherein Uponor AquaPEX-a®
                                                                     tubing is installed in combination with CPVC, copper, PPr , or
For purposes of this warranty, the use of Uponor                     stainless steel pipe risers as may be required in limited
AquaPEX-a® tubing, Uponor ProPEX® fittings and ProPEX®               residential and commercial plumbing applications. The use
rings in combination with each other shall constitute an             of non-Uponor fittings in combination with Uponor ProPEX®
Uponor ProPEX® system.                                               fittings disqualifies Uponor ProPEX fittings® from the terms
                                                                     of this Limited Warranty.

                                                                                                                     EXHIBIT

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Warranty Claim Process (for building owners and                        Transferability:
homeowners only):                                                      This limited warranty may only be assigned by the original
Written notification of an alleged failure of, or defect in, any       owner of the applicable real property and may not be
Uponor part or product identified herein should be sent to             assigned or transferred after the period ending ten (10) years
Uponor, Attn: Warranty Department, 5925 148th Street                   following the Commencement Date.
West, Apple Valley, Minnesota 55124 or by facsimile to (866)
351-8402, and must be received by Uponor within thirty (30)            Miscellaneous:
days after detection of an alleged failure or defect occurring         By the mutual agreement of the parties, it is expressly agreed
within the applicable warranty period. All products alleged to         that this limited warranty and any claims arising from breach
be defective must be sent to Uponor for inspection and                 of contract, breach of warranty, tort, or any other claim
testing for determination of the cause of the alleged failure or       arising from the sale or use of Uponor’s products shall be
defect.                                                                governed and construed under the laws of the State of
                                                                       Minnesota. It is expressly understood that authorized
Exclusive Remedies:                                                    Uponor sales representatives, distributors, and plumbing
If Uponor determines that a product identified herein has              professionals have no express or implied authority to bind
failed or is defective within the scope of this limited warranty,      Uponor to any agreement or warranty of any kind without
Uponor’s liability is limited, at the option of Uponor, to: issue      the express written consent of Uponor.
a refund of the purchase price paid for, or to repair or replace
the defective product.                                                 THIS LIMITED WARRANTY IS THE FULL EXTENT OF EXPRESS
                                                                       WARRANTIES PROVIDED BY UPONOR, AND UPONOR HEREBY
Notwithstanding anything to the contrary in this limited               DISCLAIMS ANY WARRANTY NOT EXPRESSLY PROVIDED
warranty, if Uponor determines that any damages to the real            HEREIN, INCLUDING, WITHOUT LIMITATION, THE IMPLIED
property in which a defective product was installed were the           WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A
direct result of a leak or failure caused by a manufacturing           PARTICULAR PURPOSE WITH RESPECT TO THE PRODUCTS
defect in an Uponor product covered by this limited warranty           COVERED HEREUNDER.
and occurring within the first ten (10) years after the
applicable Commencement Date or during the applicable                  UPONOR FURTHER DISCLAIMS ANY STATUTORY OR IMPLIED
limited warranty period, whichever is shorter, and if the              WARRANTY OF HABITABILITY.
claimant took reasonable steps to promptly mitigate (i.e.,
limit or stop) any damage resulting from such failure, then            EXCEPT AS OTHERWISE EXPRESSLY STATED IN THIS LIMITED
Uponor may at its discretion, reimburse claimant for the               WARRANTY,     UPONOR     FURTHER    DISCLAIMS    ANY
reasonable costs of repairing or replacing such damaged real           RESPONSIBILITY FOR LOSSES, EXPENSES, INCONVENIENCES,
property, including flooring, drywall, painting, and other real        AND SPECIAL, INDIRECT, SECONDARY, INCIDENTAL OR
property damaged by the leak or failure. Uponor shall not              CONSEQUENTIAL DAMAGES ARISING OR RESULTING IN ANY
pay for any other additional costs or expenses, including but          MANNER FROM THE PRODUCTS COVERED HEREUNDER.
not limited to, transportation, relocation, labor, repairs or any      SOME STATES DO NOT ALLOW THE EXCLUSION OR
other work associated with removing and/or returning failed            LIMITATION OF INCIDENTAL OR CONSEQUENTIAL DAMAGES,
or defective products, installing replacement products,                SO THE ABOVE LIMITATION OR EXCLUSION MAY NOT APPLY
damage to personal property or damage resulting from mold.             TO YOU.

Warranty Claim Dispute Process:                                        THIS LIMITED WARRANTY GIVES THE CLAIMANT SPECIFIC
In the event claimant and Uponor are unable to resolve a               LEGAL RIGHTS, AND YOU MAY ALSO HAVE OTHER RIGHTS
claim through informal means, the parties shall submit the             WHICH VARY FROM STATE TO STATE.
dispute to the American Arbitration Association or its
successor (the “Association”) for arbitration, and any                 Revised as of 8/2012
arbitration proceedings shall be conducted before a single
arbitrator in the Minneapolis, Minnesota metropolitan area.
NOTWITHSTANDING THE FOREGOING, NEITHER THE
CLAIMANT NOR UPONOR, INC. SHALL BE ENTITLED TO
ARBITRATE ANY CLAIMS AS A REPRESENTATIVE OR MEMBER
OF A CLASS, AND NEITHER THE CLAIMANT NOR UPONOR
SHALL BE ENTITLED TO JOIN OR CONSOLIDATE CLAIMS WITH
ANY OTHER PARTIES IN ARBITRATION OR IN LITIGATION BY                    Uponor, Inc.
                                                                        5925 148th Street West
CLASS ACTION OR OTHERWISE.                                              Apple Valley, MN 55124 USA




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                                                                                                         uponor
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                                  CERTIFICATE OF SERVICE

I, the undersigned attorney, do hereby certify that the foregoing pleading was electronically
filed with the Clerk of Court using the CM/ECF filing system which automatically sends email
notifications of such filing to the following attorneys of record:

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